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     Attorneys for Lien Claimant
 7
 8
                             UNITED STATES DISTRICT COURT
 9
10           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
11
12    MARCELLUS MCMILLIAN,                    Case No. 2:19-CV-02121-MWF-JCx
13                                            The Honorable Michael W. Fitzgerald
                   PLAINTIFF,
14
                                              NOTICE OF LIEN AND REQUEST
15    vs.                                     FOR SPECIAL NOTICE
16    GOLDEN STATE FC LLC,
17    AMAZON FULFILLMENT
      SERVICES, INC., AMAZON.COM
18    SERVICES, INC., AMAZON, INC.,
19    DEVON

20
                   DEFENDANTS.
21
22
23
            To All Parties and Their Attorneys of Record:
24
25          Please take notice that Plaintiff’s counsel, the Law Offices of Hess & Nghiem,

26   hereby claim a lien against any and all recovery obtained by Plaintiff in the above-titled
27
     action pursuant to written agreement executed by Plaintiff and Plaintiff’s counsel.
28
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                                                                       Case No. 2:19-cv-02121-MWF-JC
                      NOTICE OF LIEN AND REQUEST FOR SPECIAL NOTICE
Case 2:19-cv-02121-MWF-JC Document 123 Filed 01/13/22 Page 2 of 3 Page ID #:6735



 1         Lien claimant requests notice of any settlement conferences or offers of settlement

 2   and will assert all appropriate legal rights and remedies if such notice is not given.
 3
 4   Dated: January 13, 2022                    HESS & NGHIEM
 5
 6                                              By: /s/ Phillip B. Nghiem
                                                _____________________________________
 7                                              __________________________________
                                                    PHILLIP B. NGHIEM,ESQ.
 8                                                  EDWARD W. HESS, JR., ESQ.
                                                    Attorneys for Lien Claimant
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                       NOTICE OF LIEN AND REQUEST FOR SPECIAL NOTICE
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 1                               CERTIFICATE OF SERVICE

 2
            I, the undersigned, certify that on January 13, 2022, I caused to be electronically
 3   filed a true and correct copy of the foregoing document(s) with the Clerk of the Court by
 4   using the CM/ECF system, which will send a notice of electronic filing to all other parties
     appearing below and on the docket sheet.
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24   Attorney for Plaintiff
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27
                                     Jennifer Vo
28
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                                                                      Case No. 2:19-cv-02121-MWF-JC
                      NOTICE OF LIEN AND REQUEST FOR SPECIAL NOTICE
